            Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 1 of 17




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA               )
                                       )
       v.                              )               Criminal No. 22-CR-10038-IT
                                       )
ARIEL LEGASSA                          )

                             Defendant’s Sentencing Memorandum

       Ariel Legassa has had a profoundly positive influence on the lives of his family, friends,

colleagues, neighbors, and others. In over 70 letters of support, the people in Ariel’s life describe

him as a responsible, generous, and compassionate person who does not hesitate to help those

around him overcome difficulties and thrive. He is above all else dedicated to ensuring the well-

being of his family and has succeeded in instilling and nurturing the development of those same

values and character traits in his four children.

       The way Ariel has lived his life over five decades stands in stark contrast to the conduct

for which he now faces sentencing. He has not lost the capacity to impact the lives of others in

all of the ways the letter writers describe. He is ready, willing, able, and committed to continuing

to do so. The court has the ability to structure a sentence that, while sufficiently punitive and

deterrent, provides an opportunity for Ariel to continue to help others. For the reasons set forth

below, the court should impose a sentence of 18 months followed by two years of supervised

release with a community service component.
            Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 2 of 17




       1.       An 18-Month Sentence is Sufficient But Not Greater Than Necessary For
                These Offenses Committed by This Defendant

       Ariel lives in Connecticut with his wife and partner of over 20 years, Nilda Legassa. They

have two children together, Juliet, 19, who attends college in Florida, and Niko, 13, who is in

middle school. Ariel also has two children from a previous marriage, Francisco, 25, an Architect

in Argentina, and Bautista, 23, who attends community college and lives with Ariel and Nilda in

Connecticut.

       Ariel has always been an engaged parent who is very active in the upbringing of all of his

children. In a letter to the court, Nilda writes that Ariel “has taught our children to be lifelong

learners, teaching this by example each and every day” and that he has been an “unwavering

guide” in their lives. Exhibit 1, Letter from Nilda Legassa, at 0001.1 Nilda describes how Ariel’s

“influence extends beyond conventional lessons, shaping our children into resilient, resourceful

individuals poised for success.” Id. at 0002

       Juliet writes that her father has “instilled great values in me and my brothers, such as

respect, honesty, reliability, kindness, resilience, a strong work ethic and dedication.” Id. at 0004.

Juliet writes that her father “showed me the true meaning of love and support.” Id.

       Francisco describes the depth of his father’s dedication to family and the sacrifices that

Ariel made when he emigrated to the United States to seek better economic opportunities: “his

decision to immigrate to the United States was an act of love and sacrifice, seeking to secure our

economic well-being.” Id. at 0009. Ariel did not plan on living in this country alone. He expected

his first wife Luciana, Francisco, and his other son Bautista to to join him once he got settled.



1      Exhibit 1 consists of 72 character letters. Cites in this memorandum are to page number.

                                                   2
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 3 of 17




But Luciana changed her mind, stayed in Argentina with the children, and Ariel and Luciana

ultimately separated. See PSR at ¶ 60. That was hard on Ariel. Nilda remembers how years later,

Ariel “cried himself to sleep, after talking to his little boys in Argentina, without the ability to

hold them each night.” Id. at 0001

        Bautista writes that Ariel made a “brave decision by moving to an unknown country in

search of a better future for my brother and me.” Exhibit 1 at 0013. Bautista has recently decided

to join his father here. Bautista has been inspired by how his father “faces challenges with

determination” and has seen how his father “always shows empathy and concern for others” Id.

at 0013-14.

        Ariel’s deep-rooted devotion to family and strong desire to care for others was in part

born of necessity. When he was five and living in his home country of Argentina, Ariel’s father

passed away. His sister Alma writes that after the death of their father, Ariel “naturally assumed

the role of protector in our family.” Id. at 0021. Alma writes that no matter how far from home

Ariel is, he has “always remained attentive to us, demonstrating a sense of responsibility and

commitment that has prevailed throughout his life.” Id.

        Other members of Ariel’s extended family also describe Ariel’s efforts to remain an active

part of their lives despite the physical distance between them. Mario Borra, Ariel’s brother-in-law

and friend for over 30 years, writes that Ariel’s “commitment to family and constant emotional

support are qualities that highlight his integrity and altruistic spirit.” Id. at 0025. Borra identifies

Ariel’s defining traits as “kindness, generosity and empathy.” Id.

        Adela Lorenzatto, Nilda’s mother, who has known Ariel for over 20 years, writes that

Ariel is “always putting others ahead of himself.” Id. at 0029. Adela describes the


                                                    3
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 4 of 17




incomprehensibly devastating still birth of Nilda and Ariel’s son Lukas, how deeply it affected

Ariel, and how in the aftermath Ariel was the one who “took care of my daughter, their daughter

Juliet, and me.” Id. Adela describes Ariel as a “compassionate, intelligent man with integrity and

fortitude,” who continues to care for Adela and “checks up on me at times more often than my

own children.” Id.

        Maria Fernanda Pantoja Silva, an au pair who lived with the Legassas, writes that both

Ariel and Nilda had a “highly positive impact on me and are a role model in the way I educate

my 3-year-old son today.” Id. at 0049.

        Nancy McGonigle, who has known Ariel for over 20 years, describes Ariel’s commitment

to his children as “exemplary.” Id. at 0059. She writes that Ariel “has fostered strong bonds with

each of them, evident in their shared activities and the significant milestones he has been present

for … [his] dedication as a parent goes beyond the ordinary, highlighting his deep sense of

responsibility and love.” Id.

        It should come as no surprise that in his own letter to the court, Ariel focuses on the

emotional toll his conduct has taken on his family: “as a father and a husband, I am deeply

pained by the anguish my actions have caused my loved ones.” Exhibit 2, Ariel Legassa letter to

court. As a result of Ariel’s conduct, Bautista and Juliet have suffered anxiety attacks and Nilda

“has been shouldering these burdens.” Id. Ariel realizes and regrets that his actions have put his

family “in a state of profound distress, and we are striving to navigate these turbulent times

together.” Id.

        Ariel’s generous nature and concern for the well being of others extends to neighbors and

professional colleagues. Dale Smith, a neighbor with children the same age as Ariel’s who has


                                                  4
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 5 of 17




known Ariel for 15 years, writes that Ariel is a “positive father figure who taught solid moral

values.” Exhibit 1 at 0039. Dale “trusted Ariel with my children and my home … Ariel has

always been there for us… I trust Ariel with my life.” See also id. at 0062, Letter from John Hurd

(“Ariel has always been a hospitable and helpful neighbor, going out of his way to create a warm

and welcoming environment for everyone around him”).

       Ame Cividanes, who has known Ariel for 15 years, considers him to be “one of the most

genuine, helpful, and generous individuals … who will drop what he is doing to help.” Id. at

0043. Maria Elena Franco Arriaga, who has known Ariel and his family for 30 years, has seen

Ariel “participate in community initiatives and offer his help to those in need, always with a

selfless attitude and an open heart.” Id. at 0053. She writes that “Ariel’s life has been

characterized by acts of kindness, firm resilience in the face of difficulties, and an unwavering

commitment to family and friends.” Id.

       Two letter writers describe instances where Ariel stepped up to speak on behalf of those

who could not speak up for themselves even though there was nothing in it for him and it could

have been personally detrimental. Patricia Gorneualt Pinto worked alongside Ariel at a nursing

home where both were nurses assistants. She writes that Ariel “distinguished himself … through

his profound sense of compassion and humanity.” Id. at 0058. She describes how Ariel would go

above and beyond what was expected and how he “coordinated a group … to report the

substandard conditions at the facility. This action, taken without regard for personal gain or

potential repercussions, highlighted his commitment to ethical practices and the wellbeing of

others.” Id. at 0059.




                                                  5
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 6 of 17




       A coworker at ESPN writes that Ariel “was always a brave guy capable of denouncing

what other people were silent about and defending first those who suffered attacks … this trait …

was always highly applauded by most of his colleagues.” Id. at 0118, Letter from Manuel

Damian Martin Garcia.

       Two other letter writers describe instances where Ariel volunteered time and resources to

worthy causes. To assist a Connecticut non-profit organization, Ariel “offered his professional

services, bringing his camera crew and resources to conduct video interviews with corporate

leaders, enhancing the mission of our organization - all without compensation or even covering

his costs.” Id. at 0067, Letter from Arvind Chaudhary. In connection with a fundraiser at a

children’s hospital, Ariel devoted his time contacting potential donors. See Exhibit 1 at 0134,

Letter from Vanessa Martinez.

       The responsible manner in which Ariel has lived his life, the virtues he extolls, and the

values he has instilled by words and example in those closest to him are the true nature of the

person he is. In cases like this, the government typically seeks to turn that against a defendant at

sentencing. See Government’s Sentencing Memorandum at 13 (“Legassa’s history and

characteristics also underscore the need for a significant incarcerative sentence … Legassa has

had more advantages than most defendants who appear before this Court”). To the government,

the crime defines the person. Here, the government asserts that only one character trait matters -

“brazen greed” and a “desire to steal as much money as possible.” Id. In the government’s view,

that alone should drive the sentence in the first instance. And then, the government perversely

suggests, the sentence should be increased because Ariel comes with a good background and did

not have to commit a crime.


                                                  6
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 7 of 17




       A sentencing court must, of course, “consider every convicted person as an individual

and every case as a unique study in the human failings that sometimes mitigate, sometimes

magnify, the crime and the punishment to ensue.” Gall v. United States, 552 U.S. 38, 52 (2007),

quoting Koon v. United States, 518 U.S. 81, 98 (1996). See also U.S. v. Martin, 520 F.3d 87, 91

(1st Cir. 2008) (“a sentencing court should not consider itself constrained by the guidelines to the

extent that there are sound, case-specific reasons for deviating from them. Nor should a

sentencing court operate in the belief that substantial variances from the guidelines are always

beyond the pale.”).

       The way Ariel has lived his life apart from this offense matters. It matters when criminal

conduct is a single blemish on an otherwise law-abiding, unselfish, and exemplary life - a life

here that spans 52 years and counting. It is a factor that cuts in a defendant’s favor, not one that

should be held against him.

       Even when the guidelines were mandatory and courts were required to impose a sentence

within the specified range, departing downward where criminal behavior was markedly out of

character with how a defendant had otherwise lived was an encouraged ground for a below-

guidelines sentence. See United States v. Grandmaison, 77 F.3d 555, 563 (1st Cir 1996). See also

United States v. Bradstreet, 135 F.3d 46, 56 (1st Cir. 1998) (below-guidelines sentence

appropriate where defendant’s conduct was marked departure from the past and unlikely to

reoccur). This departure was available to first-time offenders whose criminal conduct was more

than a spontaneous, single act of bad judgment and extended to “offenders whose course of

criminal conduct involves more than one criminal act.” Grandmaison, 77 F.3d at 563.



                                                  7
            Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 8 of 17




       In the present advisory guidelines sentencing era, a sentencing court is even more free to

impose a sentence below the advisory range where a defendant has otherwise lived an exemplary

life and may do so when the criminal conduct at issue is more than a spontaneous, one-off, or

opportunistic event. See U.S. v. Howe, 543 F.3d 128 (3rd Cir. 2008) (affirming probation with

home confinement for wire fraud where offense was an “isolated mistake” in the context of

defendant’s otherwise long and upstanding life, despite assertion that defendant waged a two-

year campaign to cover up a six-figure fraud on the Air Force); United States v. Prosperi, 686

F.3d 32, 40 (1st Cir. 2012) (upholding probationary sentence 87 months below low end for years-

long fraud scheme during the Big Dig based in part on defendants’ characters as reflected in

letters of support the sentencing court found “sincere, supportive, and, I’m sure, an accurate

portrayal of the defendants’ lives”).

       2.       An 18-Month Sentence is Sufficiently Punitive and Promotes Both General
                and Specific Deterrence

       An 18-month sentence for a first-time offender is by no means a lenient sentence. It is a

significant sentence that adequately punishes the criminal conduct here.

       It is also a sentence that will promote specific and general deterrence. The court should

have no doubt that a committed sentence of any length would be sufficient to deter Ariel from

reoffending. His 50-plus-year law abiding life is strong indicator that he will not reoffend. In

addition to the loss of his liberty and the hardship of incarceration, he has lost his job, his

reputation, his chosen career, the ability to secure a high salary corporate position, and he will be

apart from his family at a time when they need him the most.




                                                   8
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 9 of 17




       In Prosperi, the First Circuit Court of Appeals imposed a sentence of probation for

defendants who had defrauded the government to the tune of $5,000,000. The government

appealed the sentences arguing, in part, that anything short of a jail sentence would not afford

sufficient deterrence. The court upheld the probationary sentence and adopted the sentencing

judge’s rationale as to why the sentence would promote deterrentce:

                     I think it is very difficult at times, for those of us
                     who are judges or prosecutors or lawyers, to put
                     ourselves in the shoes of a person with no prior
                     experience with the criminal justice system who
                     finds himself or herself accused of a crime. I do
                     not think, sometimes, we fully recognize the
                     anguish and the penalty and the burden that
                     persons face when called to account, as these
                     men are, for the wrong that they committed.

686 F.3d at 48. The Court of Appeals rejected the government’s argument that this amounted to

preferential treatment for white-collar offenders and held that it was an appropriate consideration

when fashioning a sentence for any first-time offender: “This reasoning applies equally well to

defendants convicted of white-collar and blue-collar crimes. Also, we understand the court’s

comments on the burdens of the criminal process to be a comment on the specific deterrence of

these defendants from any future criminal conduct.” Id.

       Ariel already has experienced the same anguish, penalty, and burden of being called to

account in this case. On top of that, he likely will go to jail. And he will owe restitution and be

subject to forfeiture. No one who looks at those consequences will think that it is worth it to

commit mail fraud.




                                                    9
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 10 of 17




       3.      The Loss Guideline Is Empirically Flawed and Overstates Culpability

       A sentencing court may impose a below-guidelines sentence where it disagrees with the

policy underlying a provision of the advisory sentencing guidelines. See Pepper v. U.S., 562 U.S.

476, 501 (2011) (“a district court may in appropriate cases impose a non-Guidelines sentence

based on a disagreement with the Commission’s views”); Kimbrough v. United States, 552 US

85, 101 (2007) (“as a general matter, courts may vary from Guidelines ranges based solely on

policy considerations, including disagreements with the Guidelines”); Prosperi, 686 F.3d at 48

(“post-Booker, a judge may vary from the GSR, disagreeing with details or even major

premises”); U.S. v. Stone, 575 F.3d 83, 89 (1st Cir. 2009) (“the point of Kimbrough is to

recognize ‘district courts’ authority to vary from the crack cocaine Guidelines based on policy

disagreement with them, and not simply based on an individualized determination that they yield

an excessive sentence in a particular case’”) (emphasis in original) (citation omitted).

       Few guideline provisions have been subject to more consistent criticism than the fraud

and loss provisions. Courts have been particularly skeptical of the guideline loss table, which

provides for very large sentencing enhancements based solely on aggregate loss amount: “[b]y

making a Guidelines sentence turn, for all practical purposes, on this single factor, the

Sentencing Commission effectively ignored the statutory requirement that federal sentencing

take many factors into account, … and, by contrast, effectively guaranteed that many such

sentences would be irrational on their face.” United States v. Gupta, 904 F. Supp. 2d 349, 351

(S.D.N.Y. 2012). As Judge Rakoff explained in Gupta:



                                                 10
          Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 11 of 17




                    The notion that this complicated analysis, and
                    moral responsibility, can be reduced to the
                    mechanical adding-up of a small set of numbers
                    artificially assigned to a few arbitrarily-selected
                    variables wars with common sense. Whereas
                    apples and oranges may have but a few salient
                    qualities, human beings in their interactions
                    with society are too complicated to be treated
                    like commodities, and the attempt to do so can
                    only lead to bizarre results.

Id. at 350.

        Beyond this general concern about the fraud guideline’s “sentencing by numbers”

approach, several jurists have criticized the loss table on the grounds that the astronomical

sentencing increases it calls for are utterly lacking in empirical support:

                    the numbers assigned by the Sentencing
                    Commission to various sentencing factors
                    appear to be more the product of speculation,
                    whim, or abstract number-crunching than of any
                    rigorous methodology - thus maximizing the
                    risk of injustice. … The Guidelines’ calculations
                    for this offense are no longer tied to the mean of
                    what federal judges had previously imposed for
                    such crimes, but instead reflect an ever more
                    draconian approach to white collar crime,
                    unsupported by any empirical data.

Id. at 351 (emphasis added); see also United States v. Musgrave, 647 F. App’x 529, 538 (6th Cir.

2016) (“[T]here is reason to believe that, because the loss Guidelines were not developed using

an empirical approach based on data about past sentencing practices, it is particularly appropriate

for variances.”); United States v. Corsey, 723 F.3d 366, 379 (2d Cir. 2013), Underhill concurring

(“the loss guideline … was not developed by the Sentencing Commission using an empirical

approach based on data about past sentencing practices. As such, district judges can and should

                                                  11
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 12 of 17




exercise their discretion when deciding whether or not to follow the sentencing advice that

guideline provides”); United States v. Johnson, 16-CR-457-1 (NGG), at *8 (E.D.N.Y. Apr. 26,

2018) (“[a]s far as this court can tell, the Sentencing Commission’s loss-enhancement numbers

do not result from any reasoned determination of how the punishment can best fit the crime, nor

any approximation of the moral seriousness of the crime”).

       Disagreement with the Sentencing Commission’s “unusual[]” approach to fraud “is a

circumstance that a sentencing court is entitled to consider” in imposing a variant sentence.

United States v. Algahaim, 842 F.3d 796, 800 (2d Cir. 2016). Sentencing courts have repeatedly

varied downward from large guideline sentencing ranges driven by loss amount. See Gupta, 904

F. Supp. 2d at 355 (varying downward from GSR of 78-97 months to impose 24-month

sentence); United States v. Adelson, 441 F. Supp. 2d 506, 512 (S.D.N.Y. 2006) (noting “the utter

travesty of justice that sometimes results from the guidelines’ fetish with abstract arithmetic, as

well as the harm that guideline calculations can visit on human beings if not cabined by common

sense”) (emphasis added); United States v. Herink, No. 10-CR-169, 2012 WL 3112002, at *7 (D.

Neb. July 30, 2012) (imposing sentence of 18 months despite GSR of 51-63 months and

explaining that “because the fraud offense Guidelines were promulgated pursuant to

Congressional directive rather than by application of the Sentencing Commission’s unique area

of expertise, the court afford[ed] them less deference than it would to empirically-grounded

Guidelines”).




                                                 12
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 13 of 17




       For all of these reasons, the Court can and should disregard the mechanical, loss-driven

calculation underlying the advisory offense level and the corresponding sentencing range and

impose an individualized 18-month sentence based on the particular facts and circumstances of

this case and the history and characteristics of this defendant.

       4.      The Enhancement for Obstruction of Justice Does Not Apply

       The court should not add two levels for obstruction of justice because the two necessary

requirements for that enhancement set forth in USSG § 3C1.1 are not met. Neither the

government nor the PSR show how the trigger for the enhancement - alleged perjury in a

pleading filed in a civil case between New England Sports Network (“NESN”) and Ariel -

constitutes obstruction with respect to the investigation, prosecution, or sentencing of the

offenses of conviction. Both the PSR and the government claim that it is enough that alleged

perjurious statements were made in the civil without any showing as to how the alleged perjury

impacted the criminal investigation, prosecution, or sentencing. That interpretation, based

entirely on an application note, is contrary to the text of § 3C1.1 and would read out one of its

necessaryrequirements.

       In order for the obstruction enhancement to apply, two requirements must be met: (1)

willful obstructive conduct by a defendant “with respect to the investigation, prosecution, or

sentencing of the instant offense;” and (2) “the obstructive conduct related to … the defendant’s

instant offense of conviction.” USSG § 3C1.1. While the alleged civil perjury arguably relates to

the instant offense of conviction (the second requirement of § 3C1.1), that does not automatically



                                                 13
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 14 of 17




mean that the alleged perjury also “occurred with respect to the investigation, prosecution, or

sentencing of the instant offense” (the first requirement of § 3C1.1).

       The two elements of § 3C1.1 are, in fact, distinct and both must be satisfied. In other

words, perjury in a civil case that relates to the instant offense of conviction is not enough:

“[c]ertainly, there are circumstances in which perjury in a state civil action would be utterly

irrelevant to a federal criminal matter, even if the same defendants were involved.” United States

v. Zagari, 111 F.3d 307, 328 (2d Cir. 1997) (vacating and remanding obstruction enhancement

because sentencing judge did not find that perjury in civil case was material). The Zagari court

held that materiality was two-pronged - the false testimony must not only be material to the civil

proceeding, it must also be material to the criminal proceeding: “[j]ust because perjured

testimony is given in a related action, and simply because that testimony is found to have been

material to the related proceeding, does not mean that the statements are material to the instant

proceeding.” Id. at 329. The court held that “even if the court finds that [defendant’s] statements

constituted perjury to the state proceeding, it must also find that the perjury was material to the

instant federal offense before applying the state perjury as the basis for a Section 3C1.1

enhancement of the federal sentence.” Id. See also id. at 328 (“[a]n enhancement for obstruction

of justice may therefore be granted if the court finds that the defendant willfully and materially

impeded the search for justice in the instant offense”).

       The District of Columbia Court of Appeals reached a similar conclusion in United States

v. Barry, 938 F2d 1327 (D.C. Cir 1991). Like the Zagari court, the court emphasized that the first



                                                  14
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 15 of 17




element of § 3C1.1 is distinct from the second and must be independently satisfied: “Section

3C1.1 indicates that the obstruction of justice does not apply to any and all obstructive conduct

that a defendant may have attempted or committed, but instead applies only to willful attempts

‘to obstruct or impede the administration of justice during the investigation or prosecution of the

instant offense.’” Id. at 1333 (citation and footnote omitted). It held that “an obstruction of

justice enhancement is warranted only if the defendant attempted to obstruct the investigation,

prosecution, or sentencing of the offense of conviction.” Id. at 1337. The court vacated the

sentence and remanded “[b]ecause the district court has not adequately explained how

[defendants’] perjurious grand jury testimony was calculated to obstruct the investigation of the

offense of conviction, we are constrained to conclude that the district court's decision to award an

enhancement pursuant to § 3C1.1 is infirm.” Id.

       Here, the PSR and the government make no attempt to show how the alleged perjury in

the civil case was material to the criminal case, how it “impeded the search for justice in the

instant offense” (Zagari, supra), or how the alleged perjury was “calculated to obstruct the

investigation of the offense of conviction.” (Barry, supra). It was not. It could not have done so.

       The alleged perjury is contained in documents dated February 24, 2023, more than one

year after Ariel was arrested on February 2, 2022 and indicted on February 17, 2022. See PSR at

pp. 2, 4, and ¶¶ 29-30. For all intents and purposes, the government’s investigation had

concluded long before the alleged perjury.




                                                  15
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 16 of 17




       More importantly, the government was aware of Ariel’s assertions that NESN officers had

agreed to pay him through a fictitious vendor for his work on NESN digital projects and had

authorized him to proceed in that manner. Ariel had told arresting agents the same thing more

than a year earlier minutes after he was arrested. See PSR at ¶¶ 24-25. The agents and the

government instantly rejected Ariel’s story as false. Id. Significantly, the PSR and the

government do not rely on false statements to law enforcement officers as a basis for an

obstruction enhancement. That would require a showing that the statements were material and

had “significantly obstructed or impeded the official investigation or prosecution of the instant

offense.” USSG § 3C1.1 App. Note 4(G). The government cannot make that showing because

the agents instantly rejected Ariel’s version of events and told him so, forcefully and repeatedly,

during the interview. See Defendant’s Motion to Exclude Evidence, Dkt. Entry 111 at 2-4.

       Repeating the same things in the civil case a year later, which investigators in the

criminal case already had categorically rejected as false, had zero impact on the search for justice

in the criminal case, cannot possibly be material to the instant offense, and was in no way

calculated to obstruct the investigation of the offense of conviction. For those reasons, the two-

level enhancement for obstruction of justice does not apply.




                                            Conclusion




                                                 16
         Case 1:22-cr-10038-IT Document 166 Filed 02/22/24 Page 17 of 17




       For all of the foregoing reasons, the court should impose an 18-month sentence followed

by two years of supervised release with a community service component.




                                                      ARIEL LEGASSA
                                                       By his attorney,

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker
                                                        B.B.O. #552720
                                                      Law Office of E. Peter Parker
                                                      The Wheelhouse at Bradford Mill
                                                      33 Bradford St
                                                      Concord, MA 01742
                                                      (617) 742-9099
                                                      peter@parkerslaw.com




                                       Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on February 22,
2024.

                                                      /s/ E. Peter Parker
                                                      E. Peter Parker




                                                 17
